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PART I - ADMINISTRATIVE LEGISLATION
Chapter 42 TOWN COUNCIL

 

 

Chapter 42 TOWN COUNCIL?

Sec. 42-1. Time and location of work sessions.

The Town Council of Howey-in-the-Hills shall meet in a Work Session at the Town Hall on the fourth Monday
of each month beginning at 6:00 p.m. and end no later than 9:00 p.m.

(Ord. No. 117, 2-10-75; Code 1975, ch. 2, art. I]; Ord. No. 00-290, § 1, 11-1-00; Res. No. 2007-004, § 1, 5-14-07)

Sec. 42-2. Special sessions.

The Town Council of Howey-in-the-Hills may call a Special Session at any time to handle emergency business
deemed necessary; the Special Session may be called prior to the Work Session when deemed necessary.

(Ord. No. 117, 2-10-75; Code 1975, ch. 2, art. 1; Ord. No. 90-204, 11-12-90; Res. No. 2007-004, § 2, 5-14-07)
Editor's note(s)—Ord. No. 90-204 provided that it shall take effect upon the adoption of that certain ordinance

codifying this ordinance into the Code of the Town of Howey-in-the-Hills; see Ch. 1, General Provisions, Art. |,
for the date of adoption of that certain ordinance.

Sec. 42-3. Quorum; adjournment.

A majority of the Town Council shall constitute a quorum, but a smaller number may adjourn to a stated
time.

(Ord. No. 117, 2-10-75; Code 1975, ch. 2, art. Il)

Sec. 42-4. Presiding officer; duties.

A. — The Mayor or in the Mayor's absence the Mayor Pro Tempore shall preside at all regular or special meetings
of the Town Council.

B. The presiding officer shall maintain order.
(Ord. No. 117, 2-10-75; Code 1975, ch. 2, art. Il; Ord. No. 90-204, 11-12-90)
Editor's note(s)—Ord. No. 90-204 provided that it shail take effect upon the adoption of that certain ordinance

codifying this ordinance into the Code of the Town of Howey-in-the-Hills; see Ch. 1, General Provisions, Art. |,
for the date of adoption of that certain ordinance.

Sec. 42-5. Bylaws and rules of order.

The Town Council shall make such bylaws and rules of order for its guidance and government as it deems
expedient.

 

iCross reference(s)—Officers and employees, ch. 23.

 

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(Ord. No. 117, 2-10-75; Code 1975, ch. 2, art. Il}

Sec. 42-6. Order of business at meetings.

The order of business at Town Council meetings shall be as follows:
Call to order.

Pledge of allegiance.

Roll call.

Consent agenda.

Financial report.

Police report.

Code enforcement report.

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Council reports.

Mayor's report.
J. Old business.
K. | New business.
L. Citizens’ comments.
M. Adjournment.
unless otherwise established by the Mayor or Council.
(Ord. No. 117, 2-10-75; Code 1975, ch. 2, art. Il; Ord. No. 90-204, 11-12-90; Ord. No. 00-290, § 2, 11-1-00)
Editor's note(s)—Ord. No. 90-204 provided that it shall take effect upon the adoption of that certain ordinance

codifying this ordinance into the Code of the Town of Howey-in-the-Hills; see Ch. 1, General Provisions, Art. |,
for the date of adoption of that certain ordinance.

Sec. 42-7. Removal or expulsion of members.

The Town Council, upon the unanimous vote of all the members of the Council except the member whose
removal is proposed, may expel or remove a member of the Town Council for disorderly behavior, misfeasance,
nonfeasance or malfeasance in office. Any such action shall be taken at a regular or special meeting of the Town
Council.

(Ord. No. 117, 2-10-75; Code 1975, ch. 2, art. Il; Ord. No. 90-204, 11-12-90}
Editor's note(s)—Ord. No. 90-204 provided that it shall take effect upon the adoption of that certain ordinance

codifying this ordinance into the Code of the Town of Howey-in-the-Hills; see Ch. 1, General Provisions, Art. |,
for the date of adoption of that certain ordinance.

Sec. 42-8. Certification by Mayor of ordinances and minutes.

The Mayor shall examine and certify the correctness of all ordinances when recorded in the book of
ordinances by the Town Clerk. The Mayor shall also examine and certify the correctness of all minutes, when
recorded in the book of minutes by the Town Clerk.

 

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(Ord. No. 117, 2-10-75; Code 1975, ch. 2, art. ll; Ord. No. 90-204, 11-12-90)

Editor's note(s)—Ord. No. 90-204 provided that it shall take effect upon the adoption of that certain ordinance
codifying this ordinance into the Code of the Town of Howey-in-the-Hills; see Ch. 1, General Provisions, Art. |,
for the date of adoption of that certain ordinance.

Sec. 42-9. Vacancies.

Whenever a vacancy shall occur on the Town Council, more than 180 days preceding the next general
election, by reason of death, resignation or otherwise, it shall be the duty of the Town Council to order an election
to fill the vacancy, and until such election is held the Town Council shall fill such vacancy.

(Ord. No. 117, 2-10-75; Code 1975, ch. 2, art. Il; Ord. No. 2004-328, § 2, 6-14-04)

Sec. 42-10. Compensation of the Mayor, Mayor Pro Tempore and Town Council Members.

A. The Mayor shali receive compensation in the amount of $250.00 per Town Council meeting, workshop, or
specially called meeting attended by the Mayor. The Mayor's compensation shall not exceed $500.00 per
calendar month.

B. | The Mayor Pro Tempore shall receive compensation in the amount of $125.00 per Town Council meeting,
workshop, or specially called meeting attended by the Mayor Pro Tempore. The Mayor Pro Tempore's
compensation shall not exceed $250.00 per calendar month.

C. A Town Councilor shall receive compensation in the amount of $100.00 per town council meeting, workshop,
or specially called meeting attended by a Town Councilor. A Town Councilor's compensation shall not exceed
$200.00 per calendar month.

D. |The Mayor may be excused from attending a town council meeting, workshop, or specially called meeting
without a deduction in compensation. The Mayor must notify the Town Clerk 24 hours prior to the meeting.
The Town Clerk shall announce the Mayor's absence at the meeting, and the Town Council shall determine
whether the absence will be deemed excused for purposes of this paragraph.

E. | The Mayor Pro Tempore or a Town Councilor may be excused from attending a town council meeting,
workshop or specially called meeting without a deduction in compensation. The Mayor Pro Tempore or
Town Councilor wishing to be excused from a meeting must notify the Mayor 24 hours prior to the meeting,
at which time the Mayor shall determine whether the absence will be deemed excused for purposes of this
paragraph.

(Ord. No. 2010-008, § 2, 10-25-10; Ord. No. 2018-012 , § 2, 7-23-18; Ord. No. 2020-004 , § 2, 8-24-20)

Chapter 48 ZONING COMMISSION?

 

*Editor's note(s)—Ordinance No. 90-205 provided that it shall take effect upon the adoption of that certain
ordinance codifying this ordinance into the Code of the Town of Howey-in-the-Hills; see Ch. 1, General
Provisions, Art. |, for the date of adoption of that certain ordinance.

Special acts reference—Zoning powers, Art. |.

 

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Sec. 48-1. Establishment.

There is hereby created and established a Zoning Commission for the town.

(Ord. No. 117, 2-10-75; Code 1975, § 2-6; Ord. No. 90-205, 11-12-90)

Sec. 48-2. Membership; terms of office.

The Zoning Commission shall consist of seven members who shall be appointed, subject to the approval of
the Town Council, by the Mayor. Members of the Zoning Commission shall be residents of the town, with
preference given to property owner applicants. The terms of office for members of the Zoning Commission shall be
three years from the date of appointment unless terminated earlier by resignation or by action of the Town
Council.

(Ord. No. 117, 2-10-75; Code 1975, § 2-6; Ord. No. 90-205, 11-12-90; Ord. No. 99-282, § 4, 12-13-99)

Sec. 48-3. Meetings; voting; officers.

The Planning and Zoning Commission may adopt such rules and regulations which it deems necessary to
carry out the provisions of this chapter. However, the following rules shall apply to the Planning and Zoning
Commission:

A. Meetings. The Planning and Zoning Commission shall hold regular meetings at the Town Hall on the
fourth Thursday of each month at 6:00 p.m. Special meetings may be called by the chairman, when
necessary.

B. Voting. Four members of the Planning and Zoning Commission shall constitute a quorum. However,
regardless of the existence of a quorum, any action taken by the Planning and Zoning Commission must
be approved by at least three members of the Commission.

C. Officers. The Planning and Zoning Commission shall annually select from among its membership a
chairman and a vice-chairman. This annual selection shall occur at the regularly scheduled March
meeting and shall be subject to the approval of the Town Council.

D. Chairman. The chairman shall:
(1) Preside at all meetings.
(2) Call special meetings as he deems necessary.

(3) Attest to the accuracy of all minutes of meetings prior to those minutes being submitted to the
Town Council.

(4) Form subcommittees to assist the Planning and Zoning Commission in the fulfillment of its duties.
E. Vice-chairman. The vice-chairman shall:
(1) | Ensure that Town Hall staff notices all meetings.

(2) Ensure minutes of the Planning and Zoning Commission meetings are prepared by Town Hall
staff.

(3) Serve as chairman pro-tempore.

F. Attendance. Any member of the Planning and Zoning Commission who misses two regular meetings of
the Commission in a row without first providing the notice of the absence to the town clerk or her

 

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designee shall be deemed to have resigned his or her. membership.on.the Commission. Additionally,
any member of the Commission who misses four regular meetings of the Commission during the
course of a calendar year, regardless of whether prior notice was provided to the town clerk or her
designee, shall be deemed to have resigned his or her membership on the Commission.

(Ord. No. 117, 2-10-75; Code 1975, § 2-6; Ord. No, 90-205, 11-12-90; Ord. No. 2003-314, §§ 1, 2, 9-8-03; Ord. No.
2009-005, § 2, 3-23-09)

 

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